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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION



 JOHN DOE,

                 Plaintiff,

        v.
                                                           CASE NO. 1:20-cv-123-JRS-DML
 INDIANA UNIVERSITY, PROVOST
 LAUREN ROBEL, KATHY ADAMS-
 REISTER, LIBBY SPOTTS, ROBERT
 BILLINGHAM, MICHAEL COURTNEY
 AND GRANT VOGTMAN,
                                                        ORDER GRANTING MOTION TO FILE
                                                        VERIFICATION PAGE UNDER SEAL
                 Defendants.




        Upon plaintiff John Doe’s motion and for good cause shown, it is hereby ORDERED that

 plaintiff may file the unredacted verification page to his Verified Complaint under seal. It is further

 ORDERED that plaintiff may redact his name and other identifying information in the

 publicly filed verification. The unredacted document (Dkt. 17) will remain under seal pending

 this Court’s ruling on Plaintiff’s Motion to Proceed by Pseudonym.

        So ORDERED.

        Date: 1/27/2020                         ____________________________________
                                                   Debra McVicker Lynch
                                                   United States Magistrate Judge
                                                   Southern District of Indiana




 Distribution:

 All ECF-registered counsel of record by email through the Court’s ECF system
